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     (Additional Amici on Signature Page)
 8
                        IN THE UNITED STATES DISTRICT COURT
 9
              FOR THE NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO
10

11   GAVIN NEWSOM, IN HIS OFFICIAL                     NO. 3:25-cv-04870-CRB
     CAPACITY AS GOVERNOR OF THE
12   STATE OF CALIFORNIA; STATE OF                     MOTION BY THE STATES OF
     CALIFORNIA,                                       WASHINGTON, DELAWARE,
13                                                     ARIZONA, COLORADO,
                                    Plaintiffs,        CONNECTICUT, HAWAI’I, ILLINOIS,
14                                                     MAINE, MARYLAND,
                   v.                                  MASSACHUSETTS, MICHIGAN,
15                                                     MINNESOTA, NEVADA, NEW
                                                       JERSEY, NEW MEXICO, NEW YORK,
16   DONALD TRUMP, IN HIS OFFICIAL                     NORTH CAROLINA, OREGON,
     CAPACITY AS PRESIDENT OF THE                      VERMONT, WISCONSIN, RHODE
17   UNITED STATES; PETE HEGSETH, IN                   ISLAND AND THE OFFICE OF THE
     HIS OFFICIAL CAPACITY AS                          GOVERNOR OF KANSAS (AMICI
18   SECRETARY OF THE DEPARTMENT                       STATES) FOR LEAVE TO FILE
     OF DEFENSE; U.S. DEPARTMENT OF                    AMICUS CURIAE BRIEF ON
19   DEFENSE,                                          SHORTENED TIME

20                                Defendants.          Date:
                                                       Time:
21                                                     Courtroom:
                                                       Judge: Hon. Charles R. Breyer
22                                                     Trial Date:
                                                       Action Filed: 6/9/2025
23

24          PLEASE TAKE NOTICE that the States of Washington, Delaware, Arizona, Colorado,
25   Connecticut, Hawai’i, Illinois, Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada,
26   New Jersey, New Mexico, New York, North Carolina, Oregon, Vermont, Wisconsin, Rhode

      AMICI STATES’ MOT. FOR LEAVE TO              1               ATTORNEY GENERAL OF WASHINGTON
                                                                            Civil Rights Division
      FILE AMICUS CURIAE BRIEF ON                                       800 Fifth Avenue, Suite 2000
      SHORTENED TIME                                                        Seattle, WA 98104
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 1   Island, and the Office of the Governor of Kansas (Amici States) hereby move the Court pursuant
 2   to Civil Local Rules 6-3 and 7-1 for leave to file the accompanying amicus curiae brief in support
 3   of Plaintiffs’ Ex Parte Motion for Temporary Restraining Order on shortened time.
 4           Amici States respectfully request that the Court grant their motion without a hearing and
 5   deem the accompanying amicus curiae brief filed in advance of the hearing on Plaintiffs’ Ex
 6   Parte Motion for Temporary Restraining Order scheduled for Thursday, June 12, 2025, at 1:30
 7   p.m.1
 8           This motion is based on the accompanying memorandum of points and authorities.
 9           Amici States inquired whether the parties consent to their filing an amicus brief on
10   shortened time. Plaintiffs took no position. Defendants confirmed their consent.
11           DATED this 11th day of June 2025.
12   Respectfully submitted,

13    NICHOLAS W. BROWN                                   KATHLEEN JENNINGS
      Attorney General of Washington                      Attorney General of the State of Delaware
14
      s/ Tera Heintz                                  /s/ Ian R. Liston
15    PATRICIO MARQUEZ                                IAN R. LISTON
      ANDREW HUGHES                                   Director of Impact Litigation
16    Assistant Attorneys General                     ROSE E. GIBSON
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      Tera.Heintz@atg.wa.gov
21                                 (Additional Amici on Signature Page)

22           1
              Pursuant to LCR 6-3, the undersigned hereby certifies that (1) expedited consideration
23   is necessary so that Amici States’ brief may be filed and considered in connection with the
     pending TRO motion; (2) Defendants have consented and Plaintiffs have not opposed the filing
24   of Amici States’ brief in connection with the pending TRO motion; (3) in the absence of a
     prompt ruling, Amici States’ brief and considerable interests might not be considered; (4)
25   Amici States have sought consent and no party opposes Amici States’ filing of their brief; (5)
     Amici States have not sought a previous time modification; and (6) the requested modification
26   will have no effect on the schedule for this case.
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2                                      I.       INTRODUCTION

 3           The States of Washington, Delaware, Arizona, Colorado, Connecticut, Hawai’i, Illinois,

 4   Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada, New Jersey, New Mexico,

 5   New York, North Carolina, Oregon, Vermont, Wisconsin, Rhode Island, and the Office of the

 6   Governor of Kansas (the Amici States), pursuant to Local Civil Rules 6-3 and 7-1, respectfully

 7   request expedited leave to file the accompanying amicus curiae brief in support of Plaintiffs’ Ex

 8   Parte Motion for a Temporary Restraining Order (TRO Motion). The proposed amicus brief is

 9   attached as Exhibit A to this motion. Plaintiffs take no position on this filing. Defendants consent

10   to this filing.

11                                    II.       LEGAL STANDARD

12           Acceptance and consideration of amicus briefs is within this Court’s “inherent authority.”

13   Cal. Ass’n of Sch. Psychs. v. Superintendent of Pub. Educ., No. C-93-2891 DLJ, 1994

14   WL 224433, at *4 (N.D. Cal. May 17, 1994). “District courts frequently welcome amicus briefs

15   from non-parties concerning legal issues that have potential ramifications beyond the parties

16   directly involved or if the amicus has ‘unique information or perspective that can help the court

17   beyond the help that the lawyers for the parties are able to provide.’” NGV Gaming, Ltd. v.

18   Upstream Point Molate, LLC, 355 F. Supp. 2d 1061, 1067 (N.D. Cal. 2005) (quoting Cobell v.

19   Norton, 246 F.Supp.2d 59, 62 (D.D.C. 2003)). See also Arena v. Intuit Inc.,

20   No 19-cv-2546-CRB, 2020 WL 7342716, at *1 (N.D. Cal. Dec. 14, 2020) (granting leave where

21   amici’s “perspective is plainly relevant to various questions that [pending motion] presents”).

22           Amici States submit this motion and accompanying brief a day after Plaintiffs filed their

23   TRO Motion and the Court set a hearing. Expedited consideration of this motion is appropriate

24   to aid the Court in considering Plaintiffs’ request for a temporary restraining order and provide

25   the parties an opportunity to respond to the Amici States’ position, if warranted, at the June 12,

26   2025, hearing. Expedited consideration will not affect the hearing date.

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 1                          III.    IDENTITY AND INTEREST OF AMICI
 2            Amici are the States of Washington, Delaware, Arizona, Colorado, Connecticut, Hawai’i,
 3   Illinois, Maine, Maryland, Massachusetts, Michigan, Minnesota, Nevada, New Jersey,
 4   New Mexico, New York, North Carolina, Oregon, Vermont, Wisconsin, Rhode Island, and the
 5   Office of the Governor of Kansas. The Amici States’ perspective is plainly relevant, and their
 6   interests in preventing the President’s unlawful deployment of the National Guard and Marines
 7   are fourfold. First, the Amici States are implicated by the unlimited scope of the June 7, 2025,
 8   presidential memorandum titled “Department of Defense Security for the Protection of
 9   Department of Homeland Security Functions” (Trump Memo). This memo, which federalizes
10   the National Guard in support of “ICE” and other unspecified “Federal functions,” does not
11   restrict its application to Los Angeles, the State of California, or any specific geographic region.
12   Instead, it is an unlimited claim of presidential authority to deploy the National Guards of any
13   State for the next 60 days.
14            Second, the States have an interest in ensuring their National Guards are available and
15   able to perform the essential services that they provide the States on an ongoing basis.
16            Third, the States have an interest in providing public safety and combating violence; the
17   Defendants’ actions exacerbate these challenges in the name of addressing them.
18            Fourth and finally, the States have an interest in maintaining and promoting a free and
19   open society in which lawful dissent is not chilled by the presence of military forces deployed
20   domestically in our cities and towns.
21      IV.      FAMILIARITY WITH THE SPECIFIC ISSUE ADDRESSED BY AMICUS
22            The Amici States have a unique perspective on the impact of the Trump Memo beyond
23   Plaintiffs and the urgency of enjoining the federal government’s unlawful conduct. The Amici
24   States all have relevant and specific information regarding the importance of State National
25   Guards, and the harms that will likely flow from having State National Guards unlawfully
26

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 1   commandeered by the Defendants. The Amici States respectfully submit that their proposed
 2   amicus brief will assist the Court in its consideration of Plaintiffs’ motion.
 3                                        V.      CONCLUSION
 4          For the foregoing reasons, the Amici States respectfully request that the Court grant
 5   their motion for leave to file the accompanying amicus curiae brief on shortened time.
 6          DATED this 11th day of June 2025.
 7   Respectfully submitted,
 8    NICHOLAS W. BROWN                                     KATHLEEN JENNINGS
 9    Attorney General of Washington                        Attorney General of the State of Delaware

10    s/ Tera Heintz                                        /s/ Ian R. Liston
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